     Case 1:13-cv-01176-LPS Document 25 Filed 05/18/18 Page 1 of 1 PageID #: 4392
,    Case 1:13-cv-01176-LPS Document 23-1 Filed 05/16/18 Page 1 of 1 PagelD #: 4387




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE




    JUAN ORTIZ,                                              CIVIL ACTION

                         Petitioner,                        No. 1:13-1176-LPS
                 V.



    ROBERT M. COUPE, et al.,

                         Respondents.




                                ~                ORDER

         AND NOW, this !        day of ~ , 2018, upon consideration of Petitioner's Motion

     to File Under Seal; it is hereby ORDERED that Petitioner' s Motion is granted.




                                                        Leonard . Stark
                                                        Chief United States District Judge
